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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. LEVISAY

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. LEVISAY2019 OK 62Case Number: SCBD-6827Decided: 10/07/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 62, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
SHELLEY LYNNE LEVISAY, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information, Plea, and Disposition Order on a plea of no contest. On September 11, 2019, Shelley Lynne Levisay entered the plea of no contest to a felony charge of Harboring a Fugitive From Justice in violation of 21 O.S. 2011 §440, which occurred from December 29, 2017 through January 24, 2018. Levisay was convicted of felony Harboring a Fugitive and sentenced to a two year suspended sentence, 100 hours of community service and a fine of $5,000.
¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Shelley Lynne Levisay is immediately suspended from the practice of law. Shelley Lynne Levisay is directed to show cause, if any, no later than October 21, 2019, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until November 4, 2019, to respond.
¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Shelley Lynne Levisay has until November 19, 2019, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until December 4, 2019, to respond.
¶4 DONE BY ORDER OF THE SUPREME COURT on October 7, 2019.
/S/CHIEF JUSTICE 
Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Kane, JJ., concur;
Combs, J., recused.




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